Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13533 Filed 05/03/21 Page 1 of 29




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 D’MARCO CRAFT and
 MICHAELE JACKSON,
                                                           Case No.: 17-cv-12752
               Plaintiffs,
                                                           Hon. Gershwin A. Drain
 v.

 CITY OF DETROIT, Et Al,

           Defendants.
 __________________________________________________________________/

                    PLAINTIFFS’ MOTION TO COMPEL
                 REPRESENTATION AND INDEMNIFICATION

         NOW COME Plaintiffs, D’Marco Craft and Michaele Jackson, by and

 through counsel, Johnson Law, PLC, and file this Motion to Compel Representation

 and Indemnification. Plaintiffs sought concurrence to no avail.

      1. On August 22, 2017, Plaintiffs initiated this action (ECF No. 1) against

         Defendants City of Detroit (“Detroit”), Richard Billingslea (“Billingslea”),

         and others.

      2. On Sept. 7, 2017, Defendant Detroit filed a Motion to Dismiss. (ECF No. 5).

      3. On September 28, 2017, Plaintiffs filed their First Amended Complaint

         (“FAC”). (ECF No. 7).




                                           1
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13534 Filed 05/03/21 Page 2 of 29




   4. On Sept. 8, 2017, Defendants, all of whom were represented by the same

      Detroit Law Department (“Dept”) lawyer, filed a single Motion to Dismiss.

      (ECF No. 8, PageID.87).

   5. On Dec. 6, 2017, the Court entered an Opinion and Order granting in part and

      denying in part Defendants’ Motion to Dismiss. (ECF No. 16, PageID.176).

   6. Also on Dec. 6, 2017, all defendants filed Answers and Affirmative Defenses,

      again with the same one lawyer representing all defendants. This includes

      Billingslea’s Answer, (ECF No. 19, PageID.195), and Detroit’s Answer. (ECF

      No. 20, PageID.229).

   7. The affirmative defenses of both Billingslea and Detroit included defenses

      that Billingslea’s actions were legal, proper, and reasonable. (See ECF No. 19,

      PageID.260, ¶ 9-10). Billingslea’s Affirmative defense include, (see ECF No.

      19, PageID.226, Affirmative Defense # 9), that Billingslea was acting “in

      good faith and without malice and within the scope of his or her duties as a

      Police Officer of The City of Detroit…”

   8. ECF Nos. 19 and 20 were signed by that same one lawyer who was

      representing all defendants.

   9. On Dec. 21, 2017, Billingslea was charged with multiple crimes, of which

      only Plaintiffs Jackson and Craft were victims, including:

         a. Felony – Assault with intent to do great bodily harm, less than murder,

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Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13535 Filed 05/03/21 Page 3 of 29




         b. Misdemeanor – Aggravated Assault,

         c. Felony – Common Law Offenses,

         d. Felony – Obstruction of Justice.

   10. Detroit’s police department (“DPD”) was the investigating agency that sought

      these criminal charges. (ECF No. 125-2, PageID.2109).

   11. Despite what was then a clear and obvious conflict of interest, all defendants,

      including Billingslea and Detroit, continued to be represented by that same

      one Detroit Law Dept lawyer. That lawyer did not move to withdraw from

      representing Billingslea or the other defendants.

   12. On Dec. 22, 2017, Plaintiffs filed their Second Amended Complaint (“SAC”).

      (ECF No. 31, PageID.397).

   13. On December 28, 2017, with criminal charges pending against Billingslea,

      all defendants filed Answers and Affirmative Defenses, again with one single

      lawyer still representing all defendants. Detroit’s Answer and Affirmative

      Defenses, (ECF No. 36), and Billingslea’s Answer and Affirmative Defenses,

      (ECF No. 37), still included defenses that Billingslea’s actions were legal,

      proper, and reasonable. Billingslea’s Affirmative Defenses (Id. at PageID.

      511), include a defense that Billingslea was “an employee of CITY OF

      DETROIT and was working in the course of his or her employment and within

      the scope of his or her authority” and that he was acting “in good faith and

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Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13536 Filed 05/03/21 Page 4 of 29




      without malice and within the scope of his or her duties as a Police Officer of

      The City Of Detroit…” Billingslea’s Answer and Affirmative Defenses were

      again signed by that same one lawyer who was still representing all

      defendants, despite Billingslea facing criminal charges. (Id. at PageID.514).

   14. On January 24, 2018, Defendants, still represented by that same one lawyer,

      filed a motion to stay the action, pending resolution of the criminal action

      against Billingslea. (ECF No. 51, PageID.715). Plaintiffs opposed that

      Motion. (ECF No. 53, PageID.762).

   15. On March 21, 2018, the Court stayed the proceedings. (ECF No. 57.

      PageID.798).

   16. On Aug. 30, 2018 Billingslea pled no contest to misdemeanor aggravated

      assault, and felony obstruction of justice. (ECF No. 59-1, PageID.812-814).

      Billingslea’s aggravated assault conviction stemmed from what he did to

      Plaintiff Michaele Jackson, which is the subject of this action; Billingslea’s

      obstruction of justice conviction stemmed from his seizure of Plaintiff’s

      D’Marco Craft’s cell phone, which recorded Billingslea’s assault, also which

      is the subject of this action.

   17. On September 18, 2018, the Court entered an Order lifting the stay effective

      September 21, 2018 – Billingslea’s scheduled sentencing date. (ECF No. 63,

      PageID.826-829).

                                         4
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13537 Filed 05/03/21 Page 5 of 29




   18. FROM SEPTEMBER 18, 2018 THROUGH TODAY, BILLINGSLEA
       HAS BEEN A CONVICTED FELON FOR THE EXACT ACTS THAT
       ARE COMPLAINED-OF IN THE INSTANT ACTION.

   19. On Jan. 30, 2019, Plaintiffs filed their Third Amended Complaint (“TAC”).

      (ECF No. 72, PageID.920). That is Plaintiff’s operative pleading and has

      never been amended.

   20. On Feb 6, 2019, Detroit filed its Answer and Affirmative Defenses. (ECF No.

      76, PageID.972).

   21. On March 4, 2019, Billingslea filed his Answer and Affirmative Defenses.

      (ECF No. 84, PageID.1311).

   22. Detroit’s Answer and Billingslea’s Answer were filed by that same one

      Detroit Law Dept lawyer, who was still representing all parties, despite

      Billingslea’s ‘felon’ status. (ECF No. 76, PageID.1020); (ECF No. 84,

      PageID.1355).

   23. Detroit’s Affirmative Defenses state that Billingslea’s actions were lawful,

      proper, without malice, and reasonable. (ECF No. 76, PageID.1018-1019),

      Billingslea’s Affirmative Defenses, signed subject to Rule 11 by that same

      lawyer, state that Billingslea was “an employee of CITY OF DETROIT and

      was working in the course of his or her employment and within the scope of

      his or her authority” and that Billingslea was acting “in good faith and without




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Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13538 Filed 05/03/21 Page 6 of 29




      malice and within the scope of his or her duties as a Police Officer of The City

      Of Detroit…” (ECF No. 84, PageID.1352-1354).

   24. Both Detroit’s and Billingslea’s Answers and Affirmative Defenses, have
       never been amended. Thus, they still represent Detroit’s position today.

   25. On May 1, 2019, Defendants, through that same one lawyer, filed a motion to

      withdraw from representing only Billingslea – that same one counsel still

      represent the other defendants. (ECF No. 100). Defendants attached an

      exhibit, IE City Council minutes from April 30, 2019, which was

      subsequently stricken and redacted. (See ECF No. 103 and No. 107). In the

      Motion, Defendants argue to the Court, (ECF No. 100, PageID.1545), that

      “Detroit City Council evaluated the evidence, and voted to deny Defendant,

      Richard Billingslea, Defense and Indemnification in the above captioned

      matter.” However, Detroit City Council only voted to deny Billingslea any

      representation and indemnification, because the Detroit Law Dept

      recommended it. See Stricken ECF No. 100-2, PageID.1549.

   26. Essentially, at the same time that the Detroit Law Dept was counsel of record

      for ALL defendants and representing to the Court that Billingslea acted in

      good faith, that same Law Dept was contemporaneously recommending to

      Detroit City Council to harm the Law Dept’s own represented client, IE

      Billingslea, by recommending to Council that Detroit not indemnify

      Billingslea.
                                          6
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13539 Filed 05/03/21 Page 7 of 29




   27. Further, Detroit was and still is representing to this Court, through ECF No.

      76 and ECF No. 84, that Billingslea’s actions were “lawful, reasonable,

      proper, and within the scope of his employment as a DPD officer,” yet Detroit

      was making the exact opposite representation in administrative proceedings

      concerning the indemnification and representation of Billingslea. Detroit’s

      position in that administrative proceeding was that Billingslea was not acting

      “in the good faith performance of his duties,” so Detroit was not obligated to

      indemnify or represent him.

   28. As is clear from the language in DPD’s collective bargaining agreement with

      Detroit, pertinent excerpt below, Detroit is contractually obligated to represent

      and indemnify Billingslea if he was acting “in the good faith performance of

      his duties.” (Exhibit 1, Master Agreement between Detroit and Detroit Police

      Officers Association). As documented, Detroit’s representation to this Court

      is and always has been explicitly that Billingslea was acting in good faith.




                                          7
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13540 Filed 05/03/21 Page 8 of 29




   29. A mere cursory review of the language of this Agreement, specifically “while

      said employee was in the good faith performance of his duties” demonstrates

      unequivocally that Detroit believed that Billingslea was acting in the good

      faith performance of his duties and was thus entitled to representation and

      indemnification, which Detroit provided to Billingslea, first having the Law

      Dept represent him and then hiring Charles Rudy and Allen Brothers to

      represent him. (ECF No. 109, PageID.1599); (ECF No. 110, PageID.1601).

      The only conceivable reason that Detroit would incur such expense is if

      Detroit is required to do so. And the only way Detroit could be required to do

      so is per the herein cited Agreement, which only requires representation if

      “said employee was in the good faith performance of his duties.”

   30. Further, in addition to the current representations made by Detroit thorough

      its Answer and Affirmative Defenses, (ECF Nos. 76 and 84), that Billingslea’s

      actions were lawful and in good faith, Detroit’s experts and Billingslea’s

      supervisor, Sgt Randall Craig, agree that Billingslea did nothing wrong. (Sgt.

      Craig’s Deposition Transcript, ECF No. 183-7, PageID.9515).

   31. Detroit retained a police procedures expert, Timothy McGuckin, who

      expressly opined that Billingslea “was performing his sworn duties on

      5/31/17” and that “the force used by Billingslea was objectively

      reasonable…” (Exhibit 2, McGuckin’s Expert Report, p. 17).

                                         8
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13541 Filed 05/03/21 Page 9 of 29




    32. Further, Steven Ashley, a police procedures expert retained by Billingslea,

       and paid for by Detroit as required by the DPOA Agreement, opined that

       Billingslea’s actions were justified, and that Mr. Ashley would teach the next

       generation of police officers to act the same way. (Exhibit 3, Ashley’s

       Deposition Transcript, p. 10-12).

    33. Additionally, Sgt. Randall Craig was Billingslea’s supervisor at the time of

       the incident, and was a 26-year DPD officer, including six years as a

       supervisor as of April 29, 2019. Sgt. Craig testified that Billingslea did

       nothing wrong and that Billingslea did not violate any of Detroit’s policies,

       procedures, protocols, or customs. (ECF No. 183-7, PageID.9515).

    34. Detroit has thus taken the position from the beginning of this action though

       today that Billingslea acted in good faith, and that his actions were lawful,

       proper, and reasonable. Detroit must live with that position. Per its agreement

       with DPOA, that means Detroit must represent and indemnify Billingslea.

                                   CONCLUSION

       Detroit’s lawyers have consistently represented to the Court that Billingslea

 did nothing wrong, both when signing pleadings on behalf of Billingslea as well as

 when signing pleadings on behalf of Detroit.

       Detroit’s affirmative defenses explicitly state that Billingslea acted legally and

 reasonably.

                                           9
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13542 Filed 05/03/21 Page 10 of 29




       Detroit’s retained expert, Timothy McGuckin, opined that Billingslea did

 nothing wrong.

       Billingslea’s retained expert, Steven Ashley, paid for by Detroit, opined that

 Billingslea did nothing wrong.

       Sgt Craig, a 26-year veteran, and Billingslea’s acting supervisor testified that

 Billingslea did nothing wrong and that Billingslea followed DPD policies.

       But somehow when it comes time to represent and indemnify Billingslea, per

 Detroit’s indemnification agreement with DPOA, Detroit’s position takes a 180

 degree turn and Detroit’s position is that Billingslea’s conduct was SO wrong that

 he is not even entitled to indemnification and representation.

       Allowing Defendant Detroit to take such hypocritical stances, renders Rule 11

 pointless. Defendant Detroit has repeatedly represented its position to this Court,

 subject to Rule 11, that Billingslea did nothing wrong and was acting in good faith,

 and yet at the same exact time Detroit is also taking the exact opposite position.

       WHEREFORE, Plaintiffs respectfully requests that the Court GRANT the

 instant motion and order the following:

      A) That Detroit is obligated to indemnify and represent Billingslea,

      B) That Detroit may not amend its Answers in ECF No. 76 and ECF No. 84,

          and therefore Detroit’s position moving forward must remain that:

          Billingslea’s actions were done in good faith; Billingslea’s actions were

                                           10
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13543 Filed 05/03/21 Page 11 of 29




         legal, proper, and reasonable; and Billingslea was an employee of CITY OF

         DETROIT and was working in the course of his or her employment and

         within the scope of his or her authority” and that he was acting “in good

         faith and without malice and within the scope of his or her duties as a Police

         Officer of The City Of Detroit.

      C) As an alternative relief: That the partial settlement is void so that plaintiffs

         may renew their motion for reconsideration, ECF No. 227, including the

         Court’s Order granting Summary Judgment on Plaintiff’s Monell claim.

      D) All other relief this court deems proper.

       For these reasons and the reasons stated in the attached brief, Plaintiffs

 respectfully request this Court GRANT Plaintiff’s Motion To Compel

 Representation and Indemnification.


                                                Respectfully Submitted,

                                                JOHNSON LAW, PLC

 Dated: May 3, 2021                        By: /s/ Solomon M. Radner
                                               Solomon M. Radner (P73653)
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                                           11
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13544 Filed 05/03/21 Page 12 of 29




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 D’MARCO CRAFT and
 MICHAELE JACKSON,
                                                      Case No.: 17-cv-12752
             Plaintiffs,
                                                      Hon. Gershwin A. Drain
 v.

 CITY OF DETROIT, Et Al,

           Defendants.
 __________________________________________________________________/

       BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
             REPRESENTATION AND INDEMNIFICATION




                                       ii
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13545 Filed 05/03/21 Page 13 of 29




                    STATEMENT OF ISSUES PRESENTED
       WHETHER DETROIT SHOULD BE COMPELLED TO REPRESENT
       AND INDEMNIFY BILLINGSLEA WHERE IT HAS REPEATEDLY
       MAINTAINED TO THIS COURT, THAT BILLNGSLEA ACTED IN THE
       GOOD FAITH PERFORMANCE OF HIS DUTIES AS A POLICE
       OFFICER AND THAT HIS ACTIONS WERE LAWFUL AND PROPER.
       Plaintiffs: Yes


       WHETHER DETROIT SHOULD BE PERMITTED TO AMEND ITS
       ANSWER AND AFFIRMATIVE DEFENSE, ECF NO. 76, IN WHICH IT
       STATES TO THE COURT THAT BILLINGSLEA’S ACTIONS WERE
       LAWFUL, REASONABLE, AND PROPER.
       Plaintiffs: No


       WHETHER DETROIT HAS WAIVED ITS RIGHT TO CLAIM THAT
       BILLINGSLEA IS NOT ENTITLED TO INDEMNIFICATION AND
       REPRESENTATION, WHEN (1) THE DPOA AGREEMENT STATES HE
       IS ONLY REPRESENTATED AND INDEMNIFIED “WHILE SAID
       EMPLOYEE WAS IN THE GOOD FAITH PERFORMANCE OF HIS
       DUTIES” AND (2) DETROIT HAS REPEATEDLY TAKEN THE
       POSITION TO THE COURT, AND STILL DOES, THAT
       BILLINGSLEA’S ACTIONS WERE LAWFUL, PROPER, AND LEGAL.
       Plaintiffs: Yes


       WHETHER, SUBJECT TO RULE 11, DETROIT IS PERMITTED TO
       CLAIM THAT BILLINGSLEA WAS NOT ACTING IN GOOD FAITH
       AND THUS NOT ENTITLED TO REPRESENTATION AND
       INDEMNIFICATION, WHEN BILLINGSLEA’S ANSWER, ECF NO. 84,
       WHICH WAS SIGNED BY A DETROIT LAW DEPT LAWYER AFTER
       BILLINGSLEA’S CONVICTION, INDICATES THAT BILLINGSLEA
       WAS ACING IN GOOD FAITH.
       Plaintiffs: No.
                                       iii
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13546 Filed 05/03/21 Page 14 of 29




              CONTROLLING / APPROPRIATE AUTHORITY


       Brandon v. Blech, 560 F.3d 536 (6th Cir. 2009)


       Grimes v. Bessner, et al, 17-cv-12860 (E.D. Mich. June 7, 2018)


       Barkley v. City of Detroit, 204 Mich. App. 194, 514 N.W.2d 242 (1994).


       Mirando v. United States Dep’t of Treasury, 766 F.3d 540 (6th Cir. 2014)




                                        iv
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13547 Filed 05/03/21 Page 15 of 29




                               LAW AND ARGUMENT
   I.   DETROIT HAS WAIVED THE RIGHT TO DENY INDEMNIFICATION
        AND REPRESENTATION FOR PLAINTIFFS’ CLAIMS ALLEGING
        VIOLATIONS OF CIVIL RIGHTS BY FORMER DETROIT POLICE
        OFFICER RICHARD BILLINGSLEA
        In the Sixth Circuit, “attorneys may forfeit the right to withdraw when they

 engage in strategically-timed or coercive behavior.” Brandon v. Blech, 560 F.3d 536,

 538 (6th Cir. 2009) (citing Fid. Nat’l Title Ins. Co. v. Intercounty Nat’l Title Ins. Co.,

 310 F.3d 537, 540 (7th Cir. 2002)). See Grimes v. Bessner, et al, 17-cv-12860, ECF

 No. 66, PageID.843 (E.D. Mich. June 7, 2018) (denying motion to withdraw finding

 attorney general engaged “in conduct that warrant[ed] a forfeiture of the presumptive

 right to withdraw”) (Exhibit 4); Meznarich v. Morgan Waldron Ins. Mgmt. LLC,

 2012 U.S. Dist. LEXIS 18403, at *12 (N.D. Oh. Feb. 14, 2012) (denying motion

 finding request to withdraw “could arguably be viewed as a strategic move,

 committed on behalf of [a party] Morgan Waldron, to specifically coerce the parties

 into dismissing the lawsuit, or perhaps more generally, to eschew the responsibility

 of staying actively involved in this litigation.”) (Exhibit 5).

        As discussed herein, Detroit’s and the Detroit’s Law Departments conduct in

 this case violated the Michigan Rules of Professional Conduct, Rule 11 of the

 Federal Rules of Civil Procedure, and demonstrated strategically timed and coercive

 behavior to impede Plaintiffs’ ability to effectively litigate their claims and obtain



                                             1
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13548 Filed 05/03/21 Page 16 of 29




 justice for Defendants’ violations of Plaintiffs clearly established constitutionally

 protected rights.

       In addition, the terms of the Master Agreement between the City of Detroit

 and the Detroit Police Officers Association compel representation and

 indemnification of Defendant Billingslea by Defendant Detroit. (See Exhibit 1, p.

 44, ¶ 27) (“The City will provide legal counsel and pay any costs and judgements

 that arise out of the lawsuits filed against Employees alleging any act committed

 while said Employee was in the good faith performance of his duties.”).

       a. Detroit Has Exhibited Bad Faith, Strategically Timed, Contradictory, and
          Coercive Behavior in the Withdrawal and Denial of Representation and
          Indemnification of Defendant Billingslea

                     i. Michigan Rules of Professional Conduct

       Going back to 1994, the Michigan Court of Appeals has definitively stated

 that a conflict of interest “arises when the corporation counsel represents both the

 city and an employee in an underlying suit while at the same time arguing to the city

 counsel that no representation should be provided.” Barkley v. City of Detroit, 204

 Mich. App. 194, 200, 514 N.W.2d 242, 245 (1994).

       Reviewing the Michigan Rules of Professional Conduct, the Michigan Court

 of Appeals explained:

       “[A]n attorney from the city’s law department may not first interview
       an employee concerning an underlying suit, thus obtaining confidential
       information, and then use that information to argue to the city council

                                            2
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13549 Filed 05/03/21 Page 17 of 29




       that no representation should be provided in the underlying case
       because the particular employee was not acting in good faith within the
       scope of employment. It is quite clear that such conduct would be a
       prohibited use of confidential information obtained from one client for
       the benefit of another client. MRPC 1.6(b); MRPC 1.8(b).

       The Court determined that the prohibition on arguing for a denial of

 representation is extended to all attorneys in the city’s law department even those

 “properly screened from any exposure to confidential information obtained from an

 employee.” Id. The Court of Appeals concluded that “the various conflicting or

 potentially conflicting obligations reviewed above lead us to conclude that an

 attorney with the city’s law department reasonably could not believe that

 representation of plaintiffs while also representing the city would not be materially

 limited or adversely affected by the attorney’s preexisting duties to the city.” Id. at

 207 (citing MRPC 1.7(b)) (emphasis added).

       Accordingly, representing to the Detroit City Council that the Detroit Law

 Department believed Defendant Billingslea should not be indemnified by Detroit,

 while simultaneously representing Defendant Billingslea as a client, was a clear

 violation of MRPC 1.7(b). Further, it was in direct contradiction to the multiple

 filings made by attorneys in the Detroit Law Department in which it was argued that

 Billingslea was in the scope of his employment at all times relevant to the allegations

 in the complaint, and that Defendant Billingslea’s conduct was lawful and not

 improper, both before and after Defendant Billingslea was charged and was

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Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13550 Filed 05/03/21 Page 18 of 29




 convicted of crimes arising specifically from the allegations in Plaintiffs’ complaint.

 (ECF No. 19, PageID.226, ¶ 9); (ECF No. 20, PageID.260, ¶ 9-10); (ECF No. 76,

 PageID.1019, ¶ 9-10); (ECF No. 84, PageID.1353-1354, ¶ 9) (withdrawn ECF No.

 125-1, attached as Exhibit 6).

                 ii. Rule 11 of the Federal Rules of Civil Procedure

       These contradictory filings violate Rule 11 of the Federal Rules of Civil

 Procedure (“FRCP”). FRCP 11(b), Representations to the Courts, states:

       “By presenting to the court a pleading, written motion, or other paper—
       whether by signing, filing, submitting, or later advocating it—an
       attorney or unrepresented party certifies that to the best of the person’s
       knowledge, information, and belief, formed after an inquiry reasonable
       under the circumstances:
              (1) it is not being presented for any improper purpose, such as to
              harass, cause unnecessary delay, or needlessly increase the cost
              of litigation;
              (2) the claims, defenses, and other legal contentions are
              warranted by existing law or by a nonfrivolous argument for
              extending, modifying, or reversing existing law or for
              establishing new law;
              (3) the factual contentions have evidentiary support or, if
              specifically so identified, will likely have evidentiary support
              after a reasonable opportunity for further investigation or
              discovery; and
              (4) the denials of factual contentions are warranted on the
              evidence or, if specifically so identified, are reasonably based on
              belief or a lack of information.”




                                           4
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13551 Filed 05/03/21 Page 19 of 29




       In September 2018, Billingslea pled nolo contendre to one count of

 aggravated assault and one count of obstruction of justice. (ECF No. 125-1,

 PageID.2104-2107). These crimes arose out of the factual allegations contained in

 Plaintiffs’ complaint and the complaining witness was a Detroit police sergeant.

 (ECF No. 72, PageID.923, ¶ 20) (withdrawn ECF No. 125-2, PageID.2109). After

 this plea, the Detroit Law Department, the legal arm of Detroit, continued to

 represent Billingslea and even argued that Defendant Billingslea’s conduct was

 reasonable, legal, in the scope of his employment, in good faith and without malice.

       On February 6, 2019, the Detroit Law Department on behalf of Detroit filed

 its response to Plaintiffs’ Third Amended Complaint. In its answer, Detroit asserted

 that the “actions of the Individual Defendants were legal and proper, engaged

 without malice…” and the “actions of the Individual Defendants were reasonable,

 proper, and legal.” (ECF No. 76, PageID.1019, ¶ 9-10).

       Similarly, almost a month later, on March 4, 2019, Detroit Law Department

 on behalf of Billingslea filed a response to Plaintiff’s Third Amended Complaint.

 Once again, the answer asserted that the “actions of RICHARD BILLINGSLEA

 were lawful and proper…” as well as “reasonable, proper and legal.” (ECF No. 84,

 PageID.1354, ¶ 12-13). Defendant Billingslea’s answer further maintains that he was

 “working in the course of his or her employment and within the scope of his or her

 authority” and that he “acted in good faith and without malice and within the scope

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Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13552 Filed 05/03/21 Page 20 of 29




 of his or her duties as a Police Officer of THE CITY OF DETROIT and Peace officer

 of the State of Michigan.” (Id. at PageID.1352-1354, ¶ 1; ¶ 9).

       On April 30, 2019, the Detroit City Council denied legal representation and

 indemnification to Defendant Billingslea for the allegations in Plaintiffs’ complaint.

 (stricken ECF No. 100-2, PageID.1549). This determination was made in accordance

 with the Law Department’s recommendation to deny.

       Thus, Detroit, through its law department, still to this day argue two

 incompatible, contradictory, and inconsistent positions: Detroit has argued that

 Billingslea’s actions were reasonable, legal, in the scope of his employment, in good

 faith and without malice. At the same time, Detroit has also determined, behind

 closed doors and with the recommendation of the Detroit Law Dept, that

 Billingslea’s conduct in this case was not a good faith performance of his duties.

       Detroit City Ordinance § 13-11-3(5), requires, as a condition for defense and

 reimbursement by the city, that the “city council must find and determine that the

 claim, demand or suit against the officer or employee arises out of or involves the

 performance in good faith of the official duties of the officer or employee

 involved.” The agreement between the City of Detroit and the Detroit Police Officer

 Association mandates that the “City will provide legal counsel and pay any costs and

 judgments that arise out of lawsuits filed against Employees alleging any act




                                           6
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13553 Filed 05/03/21 Page 21 of 29




 committed while said Employee was in the good faith performance of his duties.”

 (Exhibit 1, p. 44, ¶ 27).

       Despite its statements to this Court, the Detroit Law Department

 recommended the City deny representation and indemnification. (ECF No. 100-2,

 PageID.1549). The only reasonable interpretation of the stricken document’s

 redacted portions is that the Law Department informed the City Council that it does

 not believe the allegations against Defendant Billingslea contained in Plaintiffs’

 complaint arose “out of or involves the performance in good faith of the official

 duties of the officer or employee involved.” Detroit City Ordinance § 13-11-3(5).

 After this determination, Detroit Law Department moved to withdraw representation

 only on behalf of Defendant Billingslea and remains a counsel of record in the case

 for Defendant Detroit. (ECF No. 100, PageID.1544). Neither Defendant Billingslea

 nor Defendant Detroit has amended their pleadings.

       Maintenance of such contradictory claims to the court violates Rule 11 of the

 Federal Rules of Civil Procedure’s mandate that defenses “are warranted by existing

 law,” that factual allegations “have evidentiary support,” and any “denial of factual

 contentions are warranted on the evidence.” Fed. R. Civ. P. 11(b)(1)-(4). Arguing

 that the “actions of the Individual Defendants [including Billingslea] were

 reasonable, proper, and legal,” (ECF No. 76, PageID.1019, ¶ 10), is in direct




                                          7
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13554 Filed 05/03/21 Page 22 of 29




 contradiction to the position that an individual defendant in this case was not acting

 in the good faith scope of his employment.

       Further, arguing to the court that Billingslea acted in the good faith scope of

 his employment and filing signed papers to that effect demonstrates an improper

 purpose such as “to harass, cause unnecessary delay, or needlessly increase the cost

 of litigation.” For example, had Detroit and its Law Department not maintained

 contradictory positions to this court and the city council regarding Billingslea’s good

 faith conduct in the scope of his employment, this motion to compel representation

 and indemnification pursuant to the DPOA agreement and Detroit City Ordinance

 would not be necessary. See HD Brous & CO. v. Mryzglocki, 2004 U.S. Dist. LEXIS

 3095, at *44-47 (S.D. N.Y. Feb. 25, 2004) (papers filed with court that show

 “contradictions of convenience” sanctionable under Rule 11).

       Even after withdrawing Detroit Law Department’s representation for

 Defendant Billingslea when Detroit allegedly decided not to represent and indemnify

 him, Defendant Detroit still sought out and paid for Defendant Billingslea’s legal

 representation. (ECF No. 219, PageID.12887, ¶ 6). Detroit paid these attorney fees

 for upwards of eight (8) months after deciding not to represent Defendant

 Billingslea. (Id. at PageID.12888, ¶ 10).




                                             8
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13555 Filed 05/03/21 Page 23 of 29




                iii. Master Agreement Requires Representation and Indemnification

       Despite Plaintiffs’ request for all indemnification documents related to

 Billingslea, Defendant Detroit failed to provide the requested documentation,

 claiming it was not relevant. (ECF No. 136-17, PageID.2627). The Master

 Agreement between the City of Detroit and the DPOA states:

        “The City will provide legal counsel and pay any costs and judgements that

 arise out of the lawsuits filed against Employees alleging any act committed while

 said Employee was in the good faith performance of his duties.” (See Exhibit 1, p.

 44, ¶ 27).

       Detroit’s current answer to Plaintiffs’ amended complaint states that all

 individual defendants were acting legally, properly, reasonably and without malice.

 (ECF No. 76, PageID.1019). Billingslea’s current answer, signed by the Detroit Law

 Department subject to Rule 11, maintains that he was acting in the good faith and in

 the scope of his employment with the City of Detroit. (Id. at PageID.1352-1354).

 Accordingly, through its judicial admissions to this court, Detroit is required to

 represent and indemnify Defendant Billingslea.

       b. Detroit Has Waived the Argument that Billingslea Was Not Acting in The
          Good Faith Scope of Employment and Is Judicially Estopped from
          Denying Representation and Indemnification to Billingslea.

       “The doctrine of judicial estoppel prevents a party who successfully assumed

 one position in a prior legal proceeding from assuming a contrary position in a later

                                          9
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13556 Filed 05/03/21 Page 24 of 29




 proceeding.” Mirando v. United States Dep’t of Treasury, 766 F.3d 540, 545 (6th

 Cir. 2014) (citing New Hampshire v. Main, 532 U.S. 742, 749 (2001)). “Judicial

 estoppel is an equitable doctrine that preserves the integrity of the courts by

 preventing a party from abusing the judicial process through cynical gamesmanship,

 achieving success on one position, then arguing the opposite to suit an exigency of

 the moment.” Id. Following the Supreme Court’s guidance, courts review three

 factors to determine whether the doctrine applies:

       “First, a party’s later position must be clearly inconsistent with its
       earlier position. Second, [we] regularly inquire whether the party has
       succeeded in persuading a court to accept that party’s earlier position,
       so that judicial acceptance of an inconsistent position in a later
       proceeding would create the perception that either the first or the second
       court was misled . . . . A third consideration is whether the party seeking
       to assert an inconsistent position would derive an unfair advantage or
       impose an unfair detriment on the opposing party if not estopped.”

       Id. at 545 (citing New Hampshire, 532 U.S. at 750-751).

       A review of these factors demonstrates that this Court should find Detroit

 estopped from arguing that Billingslea was not acting in the good faith performance

 of his duties and compelled to provide representation and indemnification on

 Plaintiffs’ claims.

       Detroit’s position in this Court, that the individual defendants, including

 Billingslea, acted reasonably, properly, and legally, is clearly inconsistent with the

 position that Billingslea was not acting in the good faith performance of his duties,


                                           10
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13557 Filed 05/03/21 Page 25 of 29




 a necessary position to deny representation and indemnification to Defendant

 Billingslea. (ECF No. 76, PageID.1019, ¶ 10); (Exhibit 1, p. 44, ¶ 27); Detroit City

 Ordinance § 13-11-3(5).

       Detroit’s maintenance of these two inherently contradictory positions

 demonstrates that Detroit is misleading this Court. Accepting Detroit’s new position

 that Billingslea is not entitled to representation and indemnification because he was

 not acting in the good faith performance of his duties with the City of Detroit

 demonstrates that Detroit intended to mislead the Court when it argued that

 Billingslea acted reasonably, legally, properly, and without malice, (ECF No. 76,

 PageID.1019, ¶ 9-10), and when it hired two experts to opine the same. (Exhibit 2,

 McGuckin’s Expert Report, p. 17); (Exhibit 3, Ashley’s Dep. Transcript, p. 10-12).

       By maintaining these two contradictory positions, Detroit has given itself an

 unfair advantage in the instant litigation. Detroit has withdrawn all representation

 for Billingslea, including the private representation it paid for after withdrawing on

 his behalf, and have informed Plaintiffs that the City will not indemnify Billingslea

 for any of the claims asserted against him in Plaintiffs’ complaint. (ECF No. 226);

 (ECF No. 250, PageID.13470, 13475, 13481). Besides being in contradiction to

 Defendants’ statements to this court regarding Billingslea’s conduct being proper,

 Plaintiffs’ claims against Billingslea involve incidents that occurred before May 31,

 2017, claims that have survived summary judgment and include other individual

                                          11
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13558 Filed 05/03/21 Page 26 of 29




 Defendants, of whom Detroit is still representing and indemnifying. (ECF No. 224,

 PageID.12987, 12995).

        Like Grimes, the conduct in this case by Detroit and Detroit Law Department

 warrants a forfeiture of the right to withdraw representation and indemnification of

 Defendant Billingslea. See Grimes v. Bessner, et al, 17-cv-12860, ECF No. 66,

 PageID.843 (E.D. Mich. June 7, 2018) (Exhibit 4); Brandon v Blech, 560 F.3d 536,

 538 (6th Cir. 2009) (“attorneys may forfeit the right to withdraw when they engage

 in strategically-timed or coercive behavior.”).

       Given Detroit’s constant and repeated hypocrisy on whether it believes

 Billingslea did anything unlawful, the instant case falls under the very narrow

 exception described in Brandon. Further this court in Grimes, reasoned:

       At the time that the Attorney General’s Office agreed to represent
       Defendant Berger, it was aware that he would not be criminally charged
       and that the MSP’s internal investigation had not yet concluded. The
       Attorney General’s Office apparently intended to withdraw if the
       internal affairs’ investigation did not result favorably to Defendant
       Berger, or when Defendant Berger would be unable to secure substitute
       counsel due to a lack of income. This conduct has, in essence, left
       Defendant Berger defenseless.

    Grimes’ ECF No. 66, PageID.850 (Exhibit 4, p. 8).

       Applying that same logic to the instant case, Detroit should be ordered to

 represent and indemnify Mr. Billingslea, even more so than the AAG in Grimes.




                                          12
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13559 Filed 05/03/21 Page 27 of 29




       In Grimes, the AG “was aware that he would not be criminally charged and

 that the MSP’s internal investigation had not yet concluded…” Grimes, ECF No. 66,

 PageID.850.

       However, in the case at hand, Detroit’s law department continued to represent

 Billingslea after Billingslea was criminally charged, and even after Billingslea was

 convicted and sentenced. Billingslea pled no contest on Aug. 30, 2018, was

 sentenced on Sept. 21, 2018; and Detroit Law Dept then filed an Answer on

 Billingslea’s behalf on March 4, 2019, subject to Rule 11, claiming among other

 things that Billingslea’s actions were lawful, proper, and reasonable. (ECF No. 84).

       The necessity to order representation and indemnification is magnified even

 more so, when analyzing Count 12, which is based on an April 27, 2016 incident.

 There is simply no basis whatsoever for Detroit to abandon Billingslea for this claim.

       Further, as noted by the Court in Grimes, withdrawing Billingslea’s legal

 representation at two different points throughout the case and claiming he will not

 be indemnified for any of his actions, despite arguing at all times that his actions

 were reasonable, legal, and proper, has created prejudice to Plaintiffs in their ability

 to effectively litigate their claims against Billingslea and Detroit. See Grimes, ECF

 No. 66, PageID.851 (“Such conduct not only leaves Defendant Berger severely

 prejudiced … but also inevitably causes further harm to the Plaintiff…”); (citing KCI




                                           13
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13560 Filed 05/03/21 Page 28 of 29




 United States, Inc. v Healthcare Essential, Inc., No. 1:14cv549, 2018 U.S. Dist.

 LEXIS 47438, at *5-6 (N.D. Ohio Mar. 21, 2018)).

                                  CONCLUSION

       WHEREFORE, Plaintiffs respectfully requests that the Court GRANT the

 instant motion and order the following:

      A) Detroit is obligated to indemnify and represent Billingslea,

      B) Detroit may not amend its Answers in ECF No. 76 and ECF No. 84, and

         therefore Detroit’s position moving forward is that Billingslea’s actions

         were with the good faith and Billingslea’s actions were legal, proper, and

         reasonable, and that that Billingslea was “an employee of CITY OF

         DETROIT and was working in the course of his or her employment and

         within the scope of his or her authority” and that he was acting “in good

         faith and without malice and within the scope of his or her duties as a Police

         Officer of The City Of Detroit…”

      C) As an alternative relief: That the settlement is rescinded so that plaintiffs

         may renew their motion for reconsideration, ECF No. 227, including the

         Court’s Order granting of Summary Judgment on Plaintiff’s Monell claim,

      D) All other relief this court deems proper.




                                           14
Case 2:17-cv-12752-GAD-CI ECF No. 254, PageID.13561 Filed 05/03/21 Page 29 of 29




       For these reasons and the reasons stated in the attach brief, Plaintiffs

 respectfully request this Court GRANT Plaintiff’s Motion To Compel

 Representation and Indemnification.

                                                 Respectfully Submitted,

                                                 JOHNSON LAW, PLC

 Dated: May 3, 2021                        By: /s/ Solomon M. Radner
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                            CERTIFICATE OF SERVICE


             Undersigned hereby states that on May 3, 2021, he caused the foregoing
       document to be filed electronically with the United States District Court and that
       a copy of document was served on all parties through their counsel of record, via
       the Court’s CM/ECF electronic filing system.

                                 /s/ Solomon M. Radner
                                Solomon M. Radner, Esq.




                                            15
